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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



United States of America, et al.,

                               Plaintiffs,    Case No. 1:20-cv-03010-APM
 v.
                                              HON. AMIT P. MEHTA
Google LLC,
                               Defendant.



State of Colorado, et al.,

                               Plaintiffs,    Case No. 1:20-cv-03715-APM
 v.
                                              HON. AMIT P. MEHTA
Google LLC,
                               Defendant.



      BRIEF OF AMICUS CURIAE AMERICAN ECONOMIC LIBERTIES PROJECT
                        IN SUPPORT OF PLAINTIFFS
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             CORPORATE AND FINANCIAL DISCLOSURE STATEMENT

       Pursuant to Local Civil Rule 7(o)(5), amicus states as follows:

       The American Economic Liberties Project is a nonprofit, non-stock corporation. It has

no parent corporations, and no publicly traded corporations have an ownership interest in it.

                              CERTIFICATION OF COUNSEL

       In accordance with Local Civil Rule 7(o)(5), amicus certifies that (1) this brief was

authored entirely by its counsel and not by counsel for any party in the above-captioned actions,

in whole or in part; (2) no party or counsel for any party contributed money to fund preparing or

submitting this brief; and (3) apart from amicus curiae and its counsel, no other person

contributed money to fund preparing or submitting this brief.




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                                    INTEREST OF AMICUS

         American Economic Liberties Project (“AELP”) is a nonpartisan, nonprofit research and

advocacy organization that supports fair and consistent enforcement of the antitrust laws.

AELP’s interest stems from its core mission of supporting the fair and consistent enforcement of

the antitrust laws, and from its studious observation of the instant case. AELP was founded in

February 2020 to help translate developments in antitrust law and policy to the broader public,

while ensuring that lawmakers, agency officials, enforcement personnel, and courts apply the

rich history of antitrust law to contemporary market realities. AELP’s advocacy includes

frequent submission of amicus briefs in antitrust cases.

         AELP has studied this case since the date of its filing. AELP attended every day of the

liability phase of trial and published near-daily trial updates for public consumption. AELP’s

inquiry into the broader circumstances of the case has taken the form of technological research,

proactively seeking out the perspectives of nonparties who stand to be affected by the resolution

of this case, and participation in legal and academic forums in which the case was a centerpiece

of discussion. Since this Court’s August 5, 2024 finding of liability, AELP has published a study

of potential remedies in this matter and has been acknowledged for its contributions to another

published study.

  I.     Introduction

         This Court found that Google unlawfully monopolized the general search services and

general search text advertising markets. In the words of the U.S. Supreme Court, “the

Government in its effort to free [these markets] of monopoly and unreasonable restraints … ha[s]

won the battle.” Int’l Boxing Club of N. Y., Inc. v. United States, 358 U.S. 242, 259 (1959). It is

now the “inescapable responsibility” and “duty” of this Court to “prescribe relief which will

terminate the illegal monopoly, deny [Google] the fruits of its statutory violation, and ensure that
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there remain no practices likely to result in monopolization in the future.” United States v.

United Shoe Mach. Corp., 391 U.S. 244, 250 (1968). In so doing, and because “the Government

has successfully borne the considerable burden of establishing a violation of law, all doubts as to

the remedy are to be resolved in its favor.” United States v. E. I. du Pont de Nemours & Co., 366

U.S. 316, 334 (1961). If this Court, at Google’s urging, and relying virtually exclusively on

statements in a set of D.C. Circuit and district court opinions in a single case (Microsoft), stops

short of achieving these U.S. Supreme Court-mandated objectives, the American public, who has

been waiting far too long for a vibrant, competitive market, will have “won the battle but lost the

war.” Int’l Boxing Club, 358 U.S. at 259.

         Google offers three reasons why this Court should stop short of fully achieving the

remedial objectives required by the U.S. Supreme Court. First, Google argues—relying on dicta

from the Microsoft case—that the Court’s remedy must be of the same “type or class” as the

conduct the Court found anticompetitive. Second, Google argues—again relying not on U.S.

Supreme Court precedent but on Microsoft dicta—that the Government must prove a “significant

causal connection between the conduct and creation or maintenance of the market power” for the

Court to order structural relief. Third, Google argues that structural relief is not available in a

case where the defendant “merely” unlawfully maintains—as opposed to acquires—monopoly

power.

         All of Google’s arguments fail under longstanding U.S. Supreme Court precedent, which

provides that upon a finding of a violation of Section 2, the court must do more than simply

enjoin future violations; it must put an end to the monopolizing conduct, “assure the complete

extirpation of the illegal monopoly,” and deprive the defendant of the fruits of its unlawful

restraints. United Shoe, 391 U.S. at 247.



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         This Court has recently expressed concerns that the remedies under discussion in this

case may not go nearly far enough—that they may merely turn Google’s monopoly into a

duopoly of Google and Microsoft, the only other corporation with a war chest big enough to

meaningfully vie for default or exclusive positioning. The Court is right to be concerned. We

must avoid another United Shoe, in which the defendant, arguing—like Google does—that it

“owed much of its position to superior products and services,” convinced the trial court to refrain

from ordering meaningful relief, including divestiture. United States v. United Shoe Mach.

Corp., 266 F. Supp. 328, 330 (D. Mass. 1967), rev’d, 391 U.S. 244 (1968). Ten years later, the

defendant “continued to dominate the shoe machinery market” and “workable competition had

not been established,” requiring a stern intervention by the Supreme Court that finally led to a

breakup of the company. United Shoe, 391 U.S. at 247. The American public cannot afford a

similar mistake here.

 II.     Under Long-Established Supreme Court Authority, the Decree Must (A) Break Up
         the Illegal Monopoly, (B) Deny the Fruits of the Monopolization, and (C) Put an
         End to the Monopolizing Conduct

         The trial court is clothed with a broad mandate to determine the appropriate remedy in an

antitrust case. See generally Int’l Salt Co. v. United States, 332 U.S. 392, 400–01 (1947). This

broad mandate is nonetheless governed by preordained and well-defined guardrails. See United

States v. Grinnell Corp., 384 U.S. 563, 577 (1966). The Supreme Court has long held that a

remedy decree in a monopolization case must be designed to achieve three distinct “functions” or

objectives. Schine Chain Theatres v. United States, 334 U.S. 110, 128-129 (1948). These three

objectives are (1) the termination of the illegal monopoly, (2) denial of the fruits of

monopolization, and (3) ending the unlawful conduct and preventing practices likely to result in

future monopolization. United Shoe, 391 U.S. at 250; United States v. Microsoft Corp., 253 F.3d

34, 103 (D.C. Cir. 2001).
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       Accordingly, although the “determination of the scope of the decree to accomplish its

purpose is peculiarly the responsibility of the trial court,” the Supreme Court has “never treated

that power as one of discretion, subject only to reversal for gross abuse.” United States v. U.S.

Gypsum Co., 340 U.S. 76, 90 (1950). And while the Supreme Court has accorded “due regard

and respect to the conclusion of the District Court,” it has also held that its own role is “to be

sure that a decree is fashioned which will effectively redress proved violations of the antitrust

laws.” E.I. du Pont de Nemours, 366 U.S. at 323. The underlying rationale for this careful

appellate scrutiny is straightforward and simple: the “proper disposition of antitrust cases is

obviously of great public importance, and their remedial phase, more often than not, is crucial.”

Id. at 324; see Int’l Salt, 332 U.S. at 401 (if the decree accomplishes less than that, “the

Government has won a lawsuit and lost a cause”).

       Consistent with this approach, the Supreme Court has found remand warranted when

district court decrees failed to explicitly incorporate all three objectives into the analysis and the

ultimate remedy ordered. See, e.g., Schine Theatres, 334 U.S. at 129 (setting aside decree and

remanding when remedy addressed only two of the three required objectives).

       A.      The Court Must Break Up or Render Impotent the Monopoly Power

       First, this Court must ensure that the decree “break[s] up or render[s] impotent the

monopoly power found to be in violation of the Act.” Grinnell, 384 U.S. at 577; see United

Shoe, 391 U.S. at 250 (“terminate the illegal monopoly”); Microsoft, 253 F.3d at 103; Optronic

Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th 466, 486 (9th Cir. 2021). In practical terms, this

means the court must fashion the decree as an “effective means” by which “competition in [the

monopolized market] might be restored.” Int’l Boxing Club, 358 U.S. at 258; see United Shoe,

391 U.S. at 252 (“restore workable competition in the market”). Such relief may “do more than

return the market to the status quo ante” in order to accomplish the core purpose of rendering
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omnipotent the defendant’s monopoly power. Ford Motor Co. v. United States, 405 U.S. 562,

573 n.8 (1972).

       The simplest, most straightforward way for the court to accomplish this core objective of

“liquidation of the illegally acquired market power” is “[d]ivestiture.” United States v. Greater

Buffalo Press, Inc., 402 U.S. 549, 556 (1971). This can entail, for example, a “break[-]up” of the

defendant company, or the liquidation of assets or ownership interests that confer monopoly

power on the defendant. Grinnell, 384 U.S. at 577; see also, e.g., Besser Mfg. Co. v. United

States, 343 U.S. 444, 449 (1952) (affirming decree dismantling a monopoly in the concrete

block-making machinery industry through compulsory licensing). Such “elimination” of the

defendant’s monopoly position can “lower[] a major barrier to entry” and thereby “bring about a

deconcentrated market structure.” Ford Motor, 405 U.S. at 578 (“the forces of competition must

be nurtured”).

       B.        The Court Must Deny the Fruits of the Monopolization

       A remedy must do more than dissolve the illegally maintained monopoly power. It must

also deny the monopolist the fruits of its violation. See United States v. Paramount Pictures,

Inc., 334 U.S. 131, 171 (1948) (decree must deprive the defendant of any “reward from the

conspiracy through retention of its fruits”); Microsoft, 253 F.3d at 103; Berkey Photo, Inc. v.

Eastman Kodak Co., 603 F.2d 263, 296 (2d Cir. 1979). This objective is rooted in common law

and the long-established equitable principle that the defendant must “surrender” what it

unlawfully obtained. Schine Theatres, 334 U.S. at 129. And as the Supreme Court has

explained, this requirement is no “more punishment than the familiar remedy of restitution.”

Paramount, 334 U.S. at 171. In ordering this remedy, the court must first determine what

“dividends” the monopolist obtained from the violation. Schine Theatres, 334 U.S. at 129.

Finally, the court should give little weight to the monopolist’s hardship in dispossessing these
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“fruits.” United States v. Crescent Amusement Co., 323 U.S. 173, 189 (1944) (“[T]hose who

violate the Act may not reap the benefits of their violations and avoid an undoing of their

unlawful project on the plea of hardship or inconvenience.”); see also E. I. du Pont de Nemours,

366 U.S. at 327.

        C.      The Court Must Put an End to and Prevent Future Monopolizing Conduct

        Finally, the court must craft the decree to “ensure that there remain no practices likely to

result in monopolization in the future.” United Shoe, 391 U.S. at 250; see Schine Theatres, 334

U.S. at 128 (“put[] an end to … the violation”); U.S. Gypsum, 340 U.S. at 88 (court has “duty to

compel action by the conspirators that will, so far as practicable, cure the ill effects of the illegal

conduct, and assure the public freedom from its continuance”).

        This type of prophylactic and prospective relief can encompass a prohibition on activities

or conduct that previously contributed to the maintenance of the monopoly. See Crescent

Amusement, 323 U.S. at 189-90 (“The proclivity in the past … for an unlawful end warrants

effective assurance that no such opportunity will be available in the future.”); see also United

States v. Griffith, 334 U.S. 100, 109 (1948) (trial court decree must “undo as near as may be the

wrongs that were done and prevent their recurrence in the future”). But the court may also

prohibit the condemned monopolist from engaging in otherwise lawful conduct that in its view

may resurrect the monopoly. See Hartford-Empire Co. v. United States, 323 U.S. 386, 409

(1945) (court may “prohibit acts which in another setting would be unobjectionable”); Ford

Motor, 405 U.S. at 576. As the Supreme Court explained in Federal Trade Commission v.

National Lead Co., “those caught violating the Act must expect some fencing in” of future

commercial activities. 352 U.S. 419, 431 (1957); see, e.g., Trabert & Hoeffer, Inc. v. Piaget

Watch Co., 633 F.2d 477, 485 (7th Cir. 1980) (affirming decree requiring nondiscriminatory



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dealing where merely enjoining the “proven violations” would not prevent defendants from

covertly achieving their unlawful purpose).

       Under the same rationale, the Supreme Court has sanctioned decrees that reached beyond

the monopolized market and imposed restrictions on the defendant’s conduct in those adjacent

markets, even when they were not at the heart of the Government’s underlying case. See, e.g.,

U.S. Gypsum, 340 U.S. at 90. For example, in International Boxing Club, the Supreme Court

observed that the district court’s restrictions “went beyond the ‘relevant market’ which has been

considered for purposes of determining the Sherman Act violations.” 358 U.S. at 262. The

Supreme Court nonetheless upheld the decree, reasoning that “until the effects of the conspiracy

are fully dissipated,” the district court can deploy “broader” relief to ensure that the defendant

cannot continue to use its “decided advantage” against “the independent [competitor].” Id.

       Finally, courts can and often do order structural relief, such as divestiture, to accomplish

the core objective of preventing future monopolizing conduct. For example, in International

Boxing Club, the Supreme Court affirmed a decree requiring divestiture of an asset that “was not

the fruit of the conspiracy” and was “lawfully acquired,” on the basis that it otherwise “may be

utilized [in the future] as part of the conspiracy to effect [defendants’ unlawful] ends.” 358 U.S.

at 256. As the Supreme Court explained in Crescent Amusement, if the defendant retains the

“instruments” it used to make its monopolization scheme “effective,” then “there will be [a]

tempting opportunity for [it] to continue to [use them] against [its] independent[] [competitors].

The proclivity in the past to use that [instrument] for an unlawful end warrants effective

assurance”—through divestiture—“that no such opportunity will be available in the future.” 323

U.S. at 189-90.




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       D.      The Government’s Proposed Remedies Are Necessary to Accomplish the
               Supreme Court-Mandated Objectives of a Monopolization Remedies Decree

       The Government proposes “six categories of mutually reinforcing remedies” variously

aimed at, inter alia, terminating Google’s illegal monopoly in the relevant markets for general

search services and general search text ads. See generally ECF Nos. 1184 and 1184-1. Among

them, Google must not offer or provide anything of value to Apple or any non-Apple third party,

including payments for preferential treatment of Google’s General Search Engine (GSE), making

or maintaining the GSE as a default within a new or existing Search Access Point, or pre-

installation, placement, or default status of any Search Access Point. Google must not enter into

any agreement with a Publisher to license data which provides Google exclusivity or otherwise

restricts a Publisher’s ability to license or otherwise make available the data to any other GSE.

Google must not condition access to any Google Product on a distribution agreement for a GSE.

Structural remedies, including divestiture of Chrome and conditional divestiture of Android, are

similarly aimed at terminating Google’s illegal monopoly. And data sharing, syndication

remedies, and ad-specific transparency and control remedies are also designed to unfetter both

markets from Google’s monopoly grip.

       This court has recognized that Google’s default distribution agreements give Google a

“major, largely unseen advantage over its rivals,” in the form of “user queries, or scale, needed

[for rivals] to effectively compete.” Mem. Op. at 2, 226, 233-234. Such access to scale

improves Google’s ranking algorithm and improves search ads monetization by enabling ads

algorithms to select higher quality, more relevant ads, thereby improving predicted and actual

click-through rates and per-query and per-impression revenue. Mem. Op. at 230. Accordingly,

the court suggested at the outset of these remedies proceedings that the antitrust remedy “should

at least try to address” Google’s significant data advantage. Trial Tr. at 86:8-15 (April 21, 2025).


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       To deny Google the fruits of its illegal conduct, this court should adopt the Government’s

proposal to give competitors access to scale-dependent data inputs, for both search and ads, that

would otherwise provide Google an ongoing advantage. See ECF No. 1184-1, 14-15. A Search

Index is a “foundational element” of a GSE, and query data in particular is necessary to ensure

that an index covers queries that are frequently entered. Mem. Op. ¶¶ 92, 301. Google “deploys

user data to, among other things, crawl additional websites, expand the index, re-rank the Search

Engine Results Page (SERP), and improve the ‘freshness’ of results.” Mem. Op. at 229. To

deprive Google of its “massive” scale advantage, the Court should adopt the Government’s

proposal to make available to rivals various data related to Google’s Search Index. ECF No.

1184-1 at 14-15. Further, it should order Google to make certain user-side data and ads data

available to rivals on a nondiscriminatory basis. Id. at 16-17.

       The proposed divestiture of Chrome and conditional divestiture of Android further serve

to deprive Google of the substantial Android-Chrome user base, which Google obtained through

illegal Mobile Application Distribution Agreements (MADAs) with all Android original

equipment manufacturers (OEMs), and Revenue Share Agreements (RSAs) with each major

wireless carrier, browser, and OEM.

       Finally, the Government’s proposed remedies are designed to prevent the emergence of

monopoly in related markets, including AI. Testifying in these proceedings, Google CEO

Sundar Pichai acknowledged that “AI technology is going to deeply transform Google Search”

and “will make Search evolve.” Trial Tr. at 2458:1-5 (April 30, 2025). Indeed, the Gemini app

is itself a search access point. Remedies that prevent the resurfacing of monopoly as “Search

evolve[s]” must extend to Google’s ongoing efforts to lock up distribution of competing

generative AI models, including through the same search access points at issue in the Court’s



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underlying liability determination. Id. Google’s Gemini app, which “relies on search for

grounding,” Trial Tr. at 18:4-6 (April 21, 2025), is now the subject of commercial distribution

agreements which closely resemble the RSAs executed by Google to foreclose competition in the

relevant markets at issue in the liability phase of these proceedings. In addition to the dissolution

of Google’s MADAs, RSAs, and the Apple Internet Services Agreement, the proposed data

sharing and syndication remedies serve the added future-looking purpose of ensuring that Google

will not control the next era of innovation in adjacent and related AI markets.

III.   Google’s Proposed Standards and Requirements for Equitable Relief Have No
       Support in the Law

       By contrast, none of the core arguments Google makes for its proposed slap-on-the-wrist

remedies squares with the controlling Supreme Court authority. That authority does not require

that the remedies be of the same “type or class” as the unlawful conduct. It does not require a

heightened “but-for” causation standard for structural relief. And it clearly authorizes structural

relief in monopoly maintenance cases.

       A.      There Is No Requirement that the Remedies Imposed Be of the Same “Type
               or Class” as the Conduct Adjudged Anticompetitive

       Google claims that the entirety of the remedies ordered by the Court “must be of the

‘same type or class’ as the violations.” ECF No. 1108 at 8 (quoting United States v. Microsoft

Corp., 56 F.3d 1448, 1460 (D.C. Cir. 1995) (quoting Zenith Radio Corp. v. Hazeltine Rsch., Inc.,

395 U.S. 100, 132-33 (1969))). In other words, Google suggests, the Court cannot order

structural relief because Google’s unlawful conduct did not involve acquisitions, and the

remedies cannot implicate “forms of technology not at issue in the liability phase” and cannot

“address ‘“new” bad acts’ where they [a]re not of the same type or class as the conduct held to

violate the Sherman Act.” Id. (citing and quoting New York v. Microsoft Corp., 224 F. Supp. 2d



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76, 135-37, 186 (D.D.C. 2002), aff’d, 373 F.3d 1199 (D.C. Cir. 2004)). Binding Supreme Court

precedent makes clear that Google is wrong.

             1.    Structural Relief Is the Default and Preferred Remedy, Including in Non-
                   Merger Cases

       First, as to structural relief, while the district court “may, if circumstances warrant, accept

a formula for achieving the result by means less drastic,” “immediate dissolution or divestiture”

is the presumptive and preferred method of achieving the required remedial objectives—

regardless of whether the defendant maintained that monopoly through mergers or through

conduct. United Shoe, 391 U.S. at 250-51. Indeed, the Supreme Court “start[s] from the premise

that an injunction against future violations is not adequate to protect the public interest,” because

“[i]f all that was done was to forbid a repetition of the illegal conduct, those who had unlawfully

built their empires could preserve them intact” and “retain the full dividends of their

monopolistic practices and profit from the unlawful restraints of trade which they had inflicted

on competitors.” Schine Theatres, 334 U.S. at 128. As the Supreme Court explained in Greater

Buffalo Press, “[d]ivestiture performs several functions, the foremost being the liquidation of the

illegally acquired market power.” 402 U.S. at 556 (emphasis added). Dissolution or divestiture

is preferred for the additional reason that it is “simple, relatively easy to administer, and sure.”

E. I. du Pont de Nemours, 366 U.S. at 331.

       “For these reasons divestiture or dissolution is an essential feature of these decrees,”

Schine Theatres, 334 U.S. at 128, and is “the most important of antitrust remedies.” E. I. du

Pont de Nemours, 366 U.S. at 331. Google’s suggestion that monopolization through means

other than mergers and acquisitions cannot be remedied with structural relief because it is of a

different “type or class” from the illegal conduct found to have created or maintained the

monopoly is flatly inconsistent with this and other Supreme Court authorities.


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        For example, in United Shoe, the district court found the defendant had monopolized the

shoe machinery market through restrictive leasing and unlawful pricing practices. See United

States v. United Shoe Mach. Corp., 110 F. Supp. 295, 340-41 (D. Mass. 1953), aff’d, 347 U.S.

521 (1954). The district court initially declined to order dissolution or divestiture, instead merely

prohibiting or requiring certain leasing, sale, pricing, and contracting practices. See 391 U.S. at

245-46 & n.1 (describing major provisions of the decree). Ten years after the court’s initial

decree, the government reported that United “continued to dominate the shoe machinery market”

and “workable competition had not been established,” and accordingly requested that the court

split United into two competing companies. Id. at 247. The district court denied the

government’s request to break up the company, but the Supreme Court reversed and remanded

with instructions to the district court to fulfill its “duty,” “implicit in the findings of violation of

s[ection] 2 and in the decisions of this Court as to the type of remedy which must be prescribed,”

to “assure the complete extirpation of the illegal monopoly.” Id. at 251 (emphasis added). In

other words, the Supreme Court admonished the district court to seriously consider breaking up

United, even though United was a so-called “unitary company,” and even though it monopolized

the market through leasing and pricing practices rather than through acquisitions.

        As another example, in International Boxing Club, the Supreme Court affirmed a remedy

decree requiring the defendants to divest their ownership interests in Madison Square Garden,

even though “the stock … was not acquired pursuant to the conspiracy, was not the fruit of

illegal activity and was not proven to be the lever by which Madison Square Garden was

persuaded to join the conspiracy.” 358 U.S. at 255–56. It was sufficient to justify the divestiture

order that the defendants had, and may have otherwise continued to, “utilize[]” Madison Square

Gardens “to effect [their ends]” to monopolize the relevant markets. Id. at 256.



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       Likewise, in Crescent Amusement, a number of movie theater chains that owned one

another’s stock were held to have conspired to monopolize movie exhibition in dozens of towns

by leveraging their monopolies in “closed” towns to demand exclusive film rights in competitive

downs, driving competing theaters out of business or to sell out to the defendants. 323 U.S. at

181. The Supreme Court affirmed the district court’s decree that “require[d] each corporate

exhibitor to divest itself of the ownership of any stock or other interest in any other corporate

defendant.” Id. at 188. This is despite the fact that the defendants’ mutual ownership interests

predated the conspiracy. Divestiture was appropriate—indeed, essential—because “[c]ommon

control was one of the instruments in bringing about unity of purpose and unity of action and in

making the conspiracy effective. If that affiliation continues, there will be tempting opportunity

for these exhibitors to continue to act in combination against the independents.” Id. at 189-90;

see also, e.g., Hartford-Empire, 323 U.S. at 428 (holding trade association that “has undoubtedly

been an important instrument of restraint and monopoly,” and “may be made such again,” should

be dissolved, even though dissolution “destroys its functioning, even as an innocent trade

association for what have been held lawful ends”).

       The same logic applies here. Take, for example, the Government’s proposed divestitures

of Chrome and Android. True, Google did not unlawfully acquire Chrome and Android. But as

with the interests ordered divested in International Boxing Club, Crescent Amusement, and

Hartford-Empire, Chrome and Android were essential instruments in Google’s monopolization

scheme: Google made Search the default GSE in its Search Widget and in the Chrome browser,

and then leveraged its control of Android to ensure that the Search Widget and Chrome were

preloaded, out of the box, on hundreds of millions, if not billions, of Android devices. Google’s

control over Android and Chrome provided, “by far,” “[t]he most efficient channel of GSE



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distribution.” Mem. Op. ¶ 59. If Google continues to own and control Chrome and Android, the

ability and incentive to use these distribution channels to “covertly achieve their unlawful

purposes” will remain. Trabert, 633 F.2d at 485. Moreover, ownership of Chrome “only

fortifie[s] [Google’s] dominance.” Mem. Op. ¶ 83. A divestiture of Chrome and Android will

thus immediately and significantly “extirpat[e]” Google’s monopoly power in search, just as the

eventual break-up of United Shoe accomplished in that case. United Shoe, 391 U.S. at 251.

             2.    The Court Has Broad Discretion to Enjoin Conduct of a Different “Type
                   or Class” from the Conduct Found to Violate Section 2

       As the foregoing cases make clear, Google’s claim that “a court may not enjoin ‘clearly

lawful practices … simply because they will weaken the antitrust violator’s competitive

position’” (ECF No. 1108 at 9 (quoting New York, 224 F. Supp. 2d at 109)) is incorrect. In fact,

the court can go further—the court can (and preferably should) go so far as to order divestiture or

dissolution to eliminate the defendant’s monopoly and prevent future acts of monopolization,

even when that structural remedy is of an entirely different “type or class” from the defendant’s

conduct found to have violated Section 2. This principle is not “novel” or “radical,” but rather is

firmly established in Supreme Court precedent and has been deployed by the courts for more

than a century. For example, in United States v. American Tobacco Co., the Supreme Court

found that American Tobacco violated Section 2 by monopolizing the market for tobacco

products. 221 U.S. 106 (1911). The decree in that case went beyond mere divestiture and

required the defendant to create out of whole cloth and stand up “Lorillard” and “Liggett &

Myers,” two brand-new companies that eventually became important competitors over the next

several decades. See United States v. Am. Tobacco Co., 191 F. 371, 375, 423-27 (S.D.N.Y.

1911); see also Am. Tobacco Co. v. United States, 328 U.S. 781, 793 n.7 (1946) (discussing the

decree). If the court can order divestiture or dissolution, or even the creation of brand-new


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companies, of course it can order remedial measures that stop short of divestiture or dissolution,

such as injunctive relief, that accomplish the same purposes, and such a “decree need [not] deal

only with the exact type of acts found to have been committed.” Hartford-Empire, 323 U.S. at

409.

       It is true that the court must ensure that the enjoined acts are “related” to the acts the

defendant committed in violation of the law. Zenith Radio, 395 U.S.at 133 (quoting NLRB v.

Express Publishing Co., 312 U.S. 426, 436 (1941)). But “related” acts are not limited to those

“which are of the same type or class as unlawful acts which the court has found to have been

committed.” Id. at 132. As the same sentence in Zenith Radio (omitted by the Microsoft court

when quoting Zenith, see 56 F.3d at 1460) explains, “related” acts also include acts “whose

commission in the future unless enjoined, may fairly be anticipated from the defendant’s conduct

in the past.’” Zenith, 395 U.S. at 132 (quoting NLRB v. Express Publishing, 312 U.S. at 435).

       The Microsoft court’s selective invocation of the “same type or class” language from

Zenith was superfluous dicta; it certainly did not, as Google would apparently have this court

believe, upend decades of Supreme Court precedent establishing that the enjoined conduct must

merely be “[]related to violations found by the court.” Microsoft, 56 F.3d at 1460 (quoting

Zenith, 395 U.S. at 132-22). The D.C. Circuit certainly did not find these dicta bound it only a

few years later when it ordered Microsoft to license its communication protocols. See

Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1215-16 (D.C. Cir. 2004) (recognizing that the

remedy provision was “forward-looking” since “nondisclosure of this proprietary information

had played no role in our holding Microsoft violated the antitrust laws”). As the Supreme Court

explained in U.S. Gypsum, the trial court “has the duty to compel action” by the defendant that

“is not limited to prohibition of the proven means by which the evil was accomplished, but may



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range broadly through practices,” so long as they are “connected with acts actually found to be

illegal,” because “relief, to be effective, must go beyond the narrow limits of the proven

violation.” 340 U.S. at 88-90. The requirement is merely a connection or relation between the

unlawful conduct and the conduct restrained—not that they be of the same “type or class.”

       Finally, there is no “require[ment] that courts balance the benefit to competition against

the hardship or competitive disadvantage the remedy may cause,” contrary to the brief of amici

curiae “bipartisan former antitrust enforcers”—ostensibly in support of neither party but

represented by Google’s counsel in the Google Play Store litigation. ECF No. 1243-1 at 7

(quoting Ginsburg v. InBev NV/SA, 623 F.3d 1229, 1235 (8th Cir. 2010)). The only authority the

Ginsburg court cited for that proposition is a 2002 law review article expressing the policy view

that “divestiture may be an unwise remedy in Microsoft and other e-commerce litigation.” E.

Thomas Sullivan, The Jurisprudence of Antitrust Divestiture: The Path Less Traveled, 86 Minn.

L. Rev. 565, 570 (2002) (cited by Ginsburg, 623 F.3d at 1235 n.4). These amici’s proposed

balancing test is squarely at odds with controlling Supreme Court precedent, not only because—

as discussed—divestiture is the preferred, “most important” and “most effective … of antitrust

remedies,” but also because the Supreme Court has made clear that “courts are authorized,

indeed required, to decree relief effective to redress the violations, whatever the adverse effect of

such a decree on private interests.” E. I. du Pont de Nemours, 366 U.S. at 331, 326 (emphasis

added). “Economic hardship can influence choice only as among two or more effective

remedies. If the remedy chosen is not effective, it will not be saved because an effective remedy

would entail harsh consequences.” Id. at 327 (emphasizing that “[t]his proposition is not novel;

it is deeply rooted in antitrust law and has never been successfully challenged”) (citing Am.

Tobacco, 221 U.S. at 185 (1911)). If this Court decides that divestiture is a more effective



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remedy than less so-called “drastic” relief, it may not choose the latter in the interest of avoiding

hardship to Google, a $2 trillion company that violated the antitrust laws.

       B.      Supreme Court Precedent Does Not Permit Google’s Proposed Heightened
               “Causal Connection” Requirement

       Google does not dispute the longstanding Supreme Court precedent establishing that the

Court’s remedy must extirpate the illegal monopoly, deny Google the fruits of its monopolizing

conduct, and prevent likely future monopolizing conduct. Yet Google advances a standard found

nowhere in these Supreme Court cases: that “when plaintiffs request structural relief, they must

provide ‘a clearer indication of a significant causal connection between the conduct and creation

or maintenance of the market power.’ … ‘Absent such causation, the antitrust defendant’s

unlawful behavior should be remedied by “an injunction against continuation of that conduct.”’”

ECF No. 1108 at 6-7 (quoting Massachusetts, 373 F.3d at 1230, and Microsoft, 253 F.3d at 106).

Google relies exclusively on dicta from less than a handful of district and circuit court opinions,

all from the Microsoft case, for this proposition.

       Google’s “significant causal connection” requirement cannot be, and is not, the law. This

language first appeared in the D.C. Circuit’s Microsoft opinion reversing certain of the district

court’s liability findings and vacating the breakup remedy the district court had ordered without

conducting an evidentiary hearing and based on questionable reasoning. See 253 F.3d at 100

(discussing “four reasons” the district court identified “for its ‘reluctant’ conclusion that ‘a

structural remedy has become imperative’”). Clearly disturbed by the district court’s

“problematic” lack of process and findings, id. at 49, the court of appeals felt compelled to go

beyond mere vacatur and proceeded to offer the district court guidance for its new remedy

determination. In the course of this dicta, the D.C. Circuit extensively—and exclusively—

quoted Professors Areeda and Hovenkamp’s treatise on antitrust law. In that treatise, the


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professors express some of their own policy views, including advocating for their proposed

heightened “causal connection” requirement that Google has latched onto. See Areeda &

Hovenkamp, Antitrust Law ¶ 653b (5th ed. 2024); Microsoft, 253 F.3d at 106-07. The D.C.

Circuit then volunteered, in a fully advisory portion of its opinion, that “[i]f the court on remand

is unconvinced of the causal connection between Microsoft’s exclusionary conduct and the

company’s position in the OS market, it may well conclude that divestiture is not an appropriate

remedy.” Id. at 107. Subsequent opinions in the same case then parroted the treatise language

from the advisory portion of the D.C. Circuit’s opinion. See New York, 224 F. Supp. 2d at 102;

Massachusetts, 373 F.3d at 1230.

       Google now seeks to recast these superfluous dicta as the law of the circuit. But

Professors Areeda and Hovenkamp’s policy views as expressed in the treatise, no matter how

attractive, cannot abrogate Supreme Court precedent and are not the law. The Supreme Court

has repeatedly admonished that the trial court must extinguish the defendant’s monopoly power,

order the surrender of the fruits of the unlawful conduct, and stop the monopolizing conduct, and

that the default, preferred method of doing so is divestiture. See supra, section III.A.1. It has

never made these remedial obligations contingent upon the existence of any heightened causal

connection between the violative conduct and the maintenance of monopoly power. Under

controlling Supreme Court authority, it would be error for this Court to find divestiture or other

structural relief an appropriate means of eliminating Google’s monopoly and deterring its future

unlawful exercise, but to nevertheless reject that remedy for lack of a “significant causal




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connection”—above and beyond what the Court already found in the liability phase—between

Google’s unlawful conduct and its monopoly power.1

       Indeed, Google’s “significant causal connection” standard is flatly inconsistent with the

lenient causation requirement applied in equitable enforcement actions. In such actions, as this

Court explained, the plaintiff “need not ‘present direct proof that a defendant’s continued

monopoly power is precisely attributable to anticompetitive conduct.’” Mem. Op. at 215

(quoting Microsoft, 253 F.3d at 79). Rather, “[c]ourts may infer causation from the fact that a

defendant has engaged in anticompetitive conduct that reasonably appears capable of making a

significant contribution to ... maintaining monopoly power.” Id. (quotation marks omitted)

(quoting Microsoft, 253 F.3d at 79, and collecting cases). The applicability of this “somewhat

relaxed” causation standard, id., is not limited to actions seeking only non-structural relief.

Rather, the standard applies to “equitable enforcement action[s],” regardless of the remedy

sought. Microsoft, 253 F.3d at 79; see Morgan v. Ponder, 892 F.2d 1355, 1363 (8th Cir. 1989);

Barry Wright Corp. v. ITT Grinnell Corp., 724 F.2d 227, 230 (1st Cir. 1983).

       Courts have adopted this standard knowing full well that divestiture or dissolution is the

default, preferred remedy in injunctive relief cases. It would be quite the about-face to apply this

standard at the liability phase, only to retract it the minute the Government seeks the most

predictable equitable remedy of all. Indeed, to do so would turn on its head the core principle

that “once the Government has successfully borne the considerable burden of establishing a

violation of law, all doubts as to the remedy are to be resolved in its favor.” E.I. du Pont de




1 To the extent Plaintiffs’ counsel conceded at the remedies hearing that “there’s some

heightened [causal connection] requirement,” they were mistaken in doing so. Remedies Hearing
Tr. at 31 (Apr. 21, 2025). That perhaps inadvertent concession was based entirely on the
nonbinding Microsoft dicta discussed above.
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Nemours, 366 U.S. at 334. Google’s “significant causal connection” standard invokes the

opposite principle—that once the government has satisfied its burden of proof as to causation,

the sufficiency of the causal link between the defendant’s conduct and its monopoly power must

be questioned and reestablished. The remedies phase is not an opportunity for the defendant to

compel an effective retrial on causation requiring the Government to meet an entirely new and

substantially more burdensome test.

       Google’s proposed but-for causation standard is designed so that no plaintiff can ever

meet it. For example, amici curiae “bipartisan former antitrust enforcers” urge that the Court

cannot impose “[a] structural remedy like divestiture or other remedy intended to restore

competition to the relevant market” unless the Government proves “that the conduct actually

harmed competition and either sustained or enhanced defendant’s monopoly power, or damaged

or destroyed some kind of market attribute—e.g., an important supplier, resource, or distribution

channel—that would have led to genuine competition.” ECF No. 1243-1 at 6; see id. at 14

(urging the standard “but for the unlawful agreements, Google’s monopoly power would not

have been maintained”). There is a reason the D.C. Circuit rejected this test for purposes of

establishing liability: it presents an “underlying proof problem” in that “neither plaintiffs nor the

court can confidently reconstruct a product’s hypothetical technological development in a world

absent the defendant’s exclusionary conduct.” Microsoft, 253 F.3d at 79. Google and its amici

would now impose that impossible task on the Government and this Court, with little more for

support than dicta from the Microsoft case and musings contained in a single treatise.

       But-for causation simply is not the standard at the remedies stage. Instead, all that is

generally required is a “full exploration of facts” and a causal link between the court’s factual

findings and the decree. Associated Press v. United States, 326 U.S. 1, 22 (1945); see Schine



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Theatres, 334 U.S. at 129. For example, in Schine Theatres, the Court set aside the trial court’s

monopolization remedy because the findings of fact did not “reveal what the rewards of the

conspiracy were,” and therefore the trial court could not meaningfully “consider what would be

the preferable way of causing [the monopolist] to surrender them.” Id. The Supreme Court has

similarly reversed remedial action by the lower courts, both for and against the government,

when wanting in supporting findings. See, e.g., Hartford-Empire, 323 U.S. at 418; Paramount

Pictures, 334 U.S. at 170-174; Hughes v. United States, 342 U.S. 353, 357-358 (1952). Thus, to

the extent that there is any sort of causal connection requirement in the remedy phase of

monopolization cases, it mandates merely that the district court create a clear link between its

factual findings and the decree’s three objectives. See U.S. Gypsum, 340 U.S. at 89; United

States v. Ward Baking Co., 376 U.S. 327, 333-34 (1964). On appeal, “[t]he reviewing court only

asks if ‘the relief is a reasonable method of eliminating the consequences of the illegal conduct.’”

Optronic Techs., 20 F.4th at 486 (quoting Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S.

679, 698 (1978)).

       C.      Whether the Defendant’s Unlawful Conduct Allowed It to Acquire or
               Maintain Its Monopoly Has No Bearing on the Appropriate Remedy

       Finally, Google takes the extraordinary position, contrary to longstanding Supreme Court

precedent and its own cited authorities, that “it is not a valid objective for the remedy in this case

to actually terminate the monopoly” because Google’s “monopoly was unlawfully maintained

instead of unlawfully acquired.” ECF No. 1215 at 5 (quotation marks omitted; emphases in

original). The Supreme Court has never so qualified its blanket admonition that “upon

appropriate findings of violation” “in a [Section] 2 case”—not just a Section 2 monopoly

acquisition case, but any Section 2 case—the trial court holds the “inescapable responsibility” to

“terminate the illegal monopoly” and “deny to the defendant the fruits of its statutory violation.”


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United Shoe, 391 U.S. at 250. Indeed, the Supreme Court has taken pains to clarify that

“[m]onopoly power is not condemned by the Act only when it was unlawfully obtained.” Schine

Theatres, 334 U.S. at 130 (emphasis added). The plain text of Sherman Act Section 2 makes it

illegal to “monopolize … any part of … trade or commerce.” 15 U.S.C. § 2. It does not

distinguish between gaining a monopoly position illegally and retaining a monopoly position

illegally.

        Even the handful of opinions—all from Microsoft —that Google relies on belie its

argument that structural relief is not available in a monopoly maintenance case. In the D.C.

Circuit’s dicta endorsing Professors Areeda and Hovenkamp’s “significant causal connection”

requirement, the court of appeals stated that “remedies such as divestiture … require a clearer

indication of a significant causal connection between the conduct and creation or maintenance of

the market power.” Microsoft, 253 F.3d at 80 (quoting Areeda & Hovenkamp, Antitrust Law

¶ 653b) (emphasis added). In other words, Google’s favorite authority, Microsoft, stands for the

proposition that a structural remedy can be fully appropriate in a monopoly “maintenance” case.

        Google’s reliance on the subsequent district court remedies order in the Microsoft case is

equally misplaced. The district court did not hold that, in light of the fact that “the monopoly in

this case was not found to have been illegally acquired, … but only to have been illegally

maintained, … it does not seem to be a valid objective for the remedy in this case to actually

‘terminate’ Microsoft’s monopoly.” New York, 224 F. Supp. 2d at 100-01. Rather, both “parties

concede[d]” this. Id. at 101. The district court’s discussion on this point was thus, again, dicta.

Back on appeal, the D.C. Circuit said nothing about the appropriateness of a structural remedy in

a monopoly maintenance case.




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       Google claims it has monopoly power because its “continuing innovations” created “the

best general search engine.” ECF No. 1108 at 2-3. But the court found that Google violated the

Sherman Act and that those violations—not Google’s superiority—helped Google maintain its

monopoly power. In other words, it does not matter that Google may have initially acquired

monopoly power lawfully. It held onto that monopoly power by violating the antitrust laws.

Therefore, today, it holds monopoly power, and enjoys the fruits of the unlawful exercise of that

monopoly power, to which it is not entitled.

       The same situation presented itself in United Shoe. Despite the fact that there were “three

principal sources of United’s [monopoly] power”—“the original constitution of the company, the

superiority of United’s products and services, and the [unlawful] leasing system”—and despite

the fact that “[t]he first two of these [we]re plainly beyond reproach,” 110 F. Supp. at 344, the

Supreme Court still reversed the district court’s denial of the government’s request to break up

the company. 391 U.S. 244. In other words, even though United Shoe “merely” maintained the

monopoly power it already had by virtue of its original constitution and superior skills and

abilities, a breakup of the company was still called for in order “to extirpate practices that have

caused or may hereafter cause monopolization, and to restore workable competition in the

market.” Id. at 251-52.

       As in United Shoe, here, the Court is required to devise a remedy that “terminate[s] the

illegal monopoly, den[ies] to [Google] the fruits of its statutory violation, and ensure[s] that there

remain no practices likely to result in monopolization in the future.” Id. at 250. Structural relief

is appropriate and well suited to accomplish those mandatory objectives, and Google does not

and cannot cite a case that holds otherwise.




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IV.    Conclusion

       The Court should decline Google’s invitation to deviate from U.S. Supreme Court

precedent governing remedies decrees in antitrust cases. The Court should order a strong

remedy, including structural relief, that breaks up Google’s monopoly power, denies Google the

fruits of its monopolizing conduct, and puts an end to its unlawful practices.



 Dated: May 9, 2025                          Respectfully submitted,
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